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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

FREDERICK KLORCZYK, JR., as co-administrator : CIVIL ACTION NO.
of the Estate of Christian R. Klorczyk, et al., :
                                                : 3:13-cv-00257-JAM
                               Plaintiffs,      :
                                                :
vs.                                             :
                                                :
SEARS, ROEBUCK AND CO., et al.,                 :
                                                :
                               Defendants.      : OCTOBER 11, 2018

LOCAL RULE 56(a)(2) STATEMENT OF FACTS IN OPPOSITION TO MOTION FOR
SUMMARY JUDGMENT BY SHINN FU CORPORATION AND SHINN FU COMPANY
OF AMERICA, INC. ON THE GROUNDS THAT THEY WERE NOT IN THE STREAM
       OF COMMERCE WITH RESPECT TO THE SUBJECT PRODUCT

       Pursuant to Local Civil Rule 56(a)(2), Plaintiffs Frederick Klorczyk, Jr. and Lynne

Klorczyk, co-administrators of the Estate of Christian Klorczyk, submit this statement of facts in

opposition to Defendants' local rule statement in support of the motion for summary judgment by

defendants Shinn Fu Corporation ("SFC") and Shinn Fu America, Inc. ("SFA") on the grounds

that they were in the stream of commerce with respect to the subject product.

      PLAINTIFFS' RESPONSE TO DEFENDANTS' LOCAL RULE STATEMENT


1. The operative complaint is the Plaintiffs’ Second Amended Complaint dated April 10, 2014

   (ECF No. 99), which includes one of action under the Connecticut Product Liability Act

   (“CPLA”), Connecticut General Statutes Section 52-572m, et seq., against the five

   Defendants in this action: Sears, Roebuck & Co. (“Sears”), Shinn Fu Corporation (“SFC”),

   Shinn Fu Company of America, Inc. (“SFA”), MVP (H.K.) Industries, Ltd. (“MVP”), and

   Wei Fu (Taishan) Machinery & Electric Co., Ltd. (“Wei Fu”).

   RESPONSE: Admitted.

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2. The allegedly defective product is a “Craftsman Heavy Duty Jack Stand, Model No. 50163”

   (the “jack stand”). Compl. ¶ 17.

   RESPONSE: Admitted.

3. The Plaintiffs allege that the decedent, Christian R. Klorczyk, purchased the jack stand from

   a Sears department store in Waterford, Connecticut. Compl. ¶ 19.

   RESPONSE: Admitted.

4. The Plaintiffs produced a receipt showing that the jack stand was purchased on January 1,

   2011 from the Sears department store in Waterford, Connecticut. Purchase Receipt, Ex. A.

   RESPONSE: Admitted.

5. The Plaintiffs allege that the decedent was changing a car’s oil at the Plaintiffs’ home when

   the jack stand failed, causing the vehicle to fall on him. Compl. ¶¶ 20-22.

   RESPONSE: Admitted, except Plaintiffs' note that Defendants do not set forth all the

   allegations contained in paragraphs 20-22 of the Second Amended Complaint (ECF No.

   99).

6. The Plaintiffs claim the Defendants are liable for the decedent’s injuries under the CPLA

   because they designed, manufactured, imported, wholesaled, distributed, or retailed the jack

   stand. Compl. ¶ 17.

   RESPONSE: Admitted, except refer to the Second Amended Complaint for all the

   allegations as to defendants' liability under the CPLA.

7. Sears ordered the jack stand directly from MVP (HK) Industries, Ltd. on June 1, 2010,

   specifying the factory of Wei Fu Taishan Machinery & Electric Co, Ltd. Purchase Order

   (“Purchase Order”), Ex. B.




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   RESPONSE: Admitted, except note that Defendants' Exhibit "B" states that Sears

   ordered 950 "cartons" or units of 4 ton jack stand pairs which are identified as being

   T6904 stands as well as 50163 stands. Plaintiffs admit the stand involved in the fatal

   incident was part of this order.

8. The Purchase Order lists a revised ship date of September 29, 2010 and an in-store date of

   November 22, 2010. Ex. B.

   RESPONSE: Admitted.

9. MVP later shipped the jack stand directly to Sears on October 21, 2010 via UPS. Sea

   Waybill, Ex. C.

   RESPONSE: Admitted, except note that Defendants' Exhibit "C" states 950 "cartons"

   containing 4 ton jack stand pairs were shipped. Plaintiff's admit the stand involved in

   the fatal incident was part of this order.

10. Christian Klorczyk purchased the jack stand from Sears on January 1, 2011. Ex. A.

   RESPONSE: Admitted.

11. Sears’ Rule 30(b)(6) witness, Kathryn Guerra, testified that the model number 50163 jack

   stands were designed and manufactured by MVP for Sears. Kathryn Guerra Dep. Tr. pp.

   105:12-106:2, 107:2-7, Ex. E.

   RESPONSE: Admit Ms. Guerra testified as such on the pages indicated and note that

   Ms. Guerra subsequently clarified her testimony and testified MVP, as opposed to

   Sears, was "responsible" for the design and manufacture of the Craftsman jack stands.

   Guerra Dep., Exh. "V" to plaintiffs' opposition, pp. 107: 1-19, 108: 10-13, 124: 2-10.

12. Kathryn Guerra testified that MVP was the vendor for the model number 50163 jack stands,

   and Wei Fu was the producing factory. Kathryn Guerra Dep. Tr. p. 116:12-4, Ex. E.



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   RESPONSE: Admitted.

13. SFC’s Rule 30(b)(6) witness, Chang Chin He, testified that SFC did not manufacture, test,

   sell, distribute, or sell model number 50163 jack stand. Chang Chin He Dep. Tr. pp. 88:14-

   89:5, Ex. F.

   RESPONSE: Admitted.

14. Chang Chin He testified that at his time at SFC, from 2008 to 2017, SFC did not sell any

   products at all for the automotive do-it-yourself market, nor did it sell any Craftsman branded

   products. Chang Chin He Dep. Tr. p. 90:1-11, Ex. F.

   RESPONSE: Admitted.

15. SFA’s Rule 30(b)(6) witness, Ryan Jorgensen, testified that SFA did not sell jack stands to

   Sears during the relevant time frame, as Sears bought them from MVP, and SFA was not in

   the “sales chain.” Ryan Jorgensen Dep. Tr. pp. 29:3-6, 33:3-14, Ex. G.

   RESPONSE: Denied. The actual testimony of Ryan Jorgensen in the cited pages when

   asked if SFA between 2008-2011 was involved in the sale or distribution of Sears

   Craftsman jack stands was "I don’t believe we were in the sales chain".

16. Ryan Jorgensen testified that SFA did not design ratchet-and-pawl jack stands, as designs

   were handled by the respective factories that made the jack stands. Ryan Jorgensen Dep. Tr.

   pp. 29:16-30:8, Ex. G.

   RESPONSE: Admitted.

17. Wei Fu’s Rule 30(b)(6) witness, Su Chien Chi, testified that model number 50163 jack stands

   were designed by a Wei Fu engineer, with Sears’ approval and without any involvement

   form Shinn Fu Corporation. Su Chien Chi Dep. Tr. pp. 92:22-93:23, Ex. H.




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   RESPONSE: Admitted, except Mr. Su did not testify at the cited pages that SFC was

   not involved in the design of the 50163 jack stand. Mr. Su testified only that Wei Fu did

   not need SFC's approval for the design.

18. Wei Fu’s Rule 30(b)(6) witness, Su Chien Chi, testified that Wei Fu manufactured model

   number 50163 jack stands throughout the entire period relevant to this action, from 2007 to

   2011. Su Chien Chi Dep. Tr. pp. 90:3-14, 93:24-94:1, Ex. H.

   RESPONSE: Admitted.

19. Wei Fu’s Rule 30(b)(6) witness, Su Chien Chi, testified that Wei Fu worked with MVP to

   obtain all necessary content and to print the product manuals. Su Chien Chi Dep. Tr. pp.

   106:16-107:25, Ex. H.

   RESPONSE: Admitted.

20. MVP’s Rule 30(b)(6) witness, Nora Lee, testified that MVP bought the subject jack stands

   from another distributor, MVP International, and sold them directly to Sears. Nora Lee Dep

   Tr. pp. 110:24-111:16, Ex. I.

   RESPONSE: Admitted, except Ms. Lee never testified that MVP International was a

   "distributor". Ms. Lee testified that MVP International was a "consulting company", a

   "middle agency" for MVP and she was "not sure" if the two companies were related.

   Lee Dep., Exh "G" to the opposition, pp. 85:19- 88:6.

21. MVP’s Rule 30(b)(6) witness, Nora Lee, testified that MVP designer Addy Law was

   responsible for drafting the product manual, which would then be given to MVP engineer

   Ivan Chan for review. Nora Lee Dep Tr. pp. 80:13-81:25, Ex. I.

   RESPONSE: Admitted.




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22. MVP’s Rule 30(b)(6) witness, Nora Lee, testified that Sears issued purchase orders directly

   to MVP, and issued payment directly to MVP. Nora Lee Dep Tr. pp. 111:17-23, Ex. I.

   RESPONSE: Admitted.

23. Nora Lee testified that SFA was not a party to the transaction, and SFA did not buy or sell

   model number 50163 jack stands during the relevant time period. Nora Lee Dep Tr. pp.

   112:2-113:17, Ex. I.

   RESPONSE: Admitted.

24. In response to this Court’s Order (ECF No. 205 p. 3), the Plaintiffs issued supplemental

   responses on July 18, 2016 to SFA and SFC’s interrogatories and requests for production

   regarding the Plaintiffs’ claims that SFA and SFC were in the stream of commerce for the

   subject jack stand. Plaintiffs’ July 18, 2016 Supplemental Responses, Ex. J.

   RESPONSE: Admitted.

25. The Plaintiffs’ supplemental responses dated July 18, 2016 assert that (1) SFC is the parent

   company, and SFA is part of a group of companies, that includes MVP and Wei Fu, which

   are the actual distributor and manufacturer of the subject jack stands; (2) SFA sells or

   prepares to sell “products of the type” that are at issue in this action; and (3) SFC and SFA

   shared an insurance policy and a claims administrator with MVP and Wei Fu. Ex. J.

   RESPONSE: Admitted, except refer to the wording of plaintiffs' actual July 18, 2016

   Supplemental Responses to SFA and SFC's Interrogatories (Defendants' Exh. "J"),

   Supp. Response to Interrogatories Nos. 1 and 2, instead of the defendants'

   characterization of those responses.




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26. The Plaintiffs’ supplemental responses dated July 18, 2016 do not directly assert that SFC or

   SFA were in the chain of distribution for the subject jack stands, or that they were involved

   with the subject jack stands. Ex. J.

   RESPONSE: Deny. The July 18, 2016 Supplemental Responses (Defendants Exh. "J")

   do assert that SFA and SFC were involved with the Sears 50163 jack stands and their

   distribution (Response to Interrogatory Nos. 1 and 2).

27. The Plaintiffs’ supplemental responses dated July 18, 2016 cite three documents to support

   their allegation that SFC and SFA’s should continue on as Defendants: (1) a Sales

   Representative Agreement between SFA and MVP; (2) the insurance policy applicable to the

   Plaintiffs’ claim; and (3) a PowerPoint presentation from SFC. See Exhibits K, L, and N;

   Ex. J.

   RESPONSE: Admitted, except note that Plaintiffs' July 18, 2016 Supplemental

   Responses (Dft's Exh. "J", Response to Interrogatory. Nos 1 and 2) also state the

   plaintiffs had not yet deposed SFC, MVP or Wei Fu 30(b)(6) witnesses or Arthur

   Chaykin, another designated SFA 30(b)(6) witness, and would further supplement after

   the depositions and concerning documents discussed at the then upcoming depositions.

28. The Plaintiffs’ further supplemental responses dated June 25, 2018 re-iterated that that SFA

   should be liable because of its Sales Representative Agreement with MVP, because of the

   shared insurance policy, and because it sold and tested “similar” models of jack stands. Ex.

   J.

   RESPONSE: Object because plaintiffs' June 25, 2018 Supplemental Responses were not

   part of Defendants' Exh. "J", but are annexed to plaintiffs' opposition as Exh. "B".

   Plaintiffs' actual Supplemental Response is found in Response to Interrogatory No. 14



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   and the Court is referred to the actual wording therein rather than defendants'

   characterization of that response.

29. The Plaintiffs also asserted that the 50163 design was based on a different design that was

   sold by SFA under a brand name owned by SFC. Ex. J.

   RESPONSE: Object because plaintiffs' June 25, 2018 Supplemental Responses were not

   part of Defendants' Exh. "J", but are annexed to plaintiffs' opposition as Exh. "B".

   Plaintiffs otherwise Deny No. 29, as plaintiffs asserted in their June 25, 2018

   Supplemental Responses [Exh. "B", Response to Interrogatory No. 14] that "the

   Craftsman 50163 model was based on an existing design sold by SFA under a different

   brand name Pro-Lift, the rights to which were owned by SFC".

30. The Sales Representative Agreement between SFA and MVP shows the agreement in effect

   from December 1, 2009 to January 1, 2011 during the relevant period when the subject jack

   stand was distributed prior to sale. Ex. K.

   RESPONSE: Admitted except state that the SFA/MVP Sales Representative Agreement

   also incorporates by reference terms and provisions from prior SFA/MVP Sales

   Representative Agreements (Defentants Exh. "K", SFA003345, paragraph. "7").

31. Under the terms of this agreement, SFA was paid a “monthly service charge” of $1,875.00 to

   provide:   “(a) Lab testing services; (b) Show management; (c) OIPM support, and (d)

   Customer phone support.” Ex. K.

   RESPONSE: Admitted.

32. MVP’s representative testified that SFA may have simply acted as a middleman to provide

   the draft manual from MVP to Sears for Sears’ final approval. Nora Lee Dep. Tr. pp. 80:13-

   81:25, Ex. I.



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   RESPONSE: Deny. Ms. Lee never testified that SFA acted as a "middleman" with

   respect to the 50163 operator's manual. Ms. Lee never spoke in preparation for her

   deposition with any MVP employee she claimed was involved with the manual and she,

   herself, had no role in preparing the manual. Lee Dep., Exh. "G" to plaintiffs'

   opposition, pp. 80: 9- 82:10.

33. SFC, SFA, MVP, and Wei Fu were covered under the same insurance policy during the

   relevant period. Ex. L.

   RESPONSE: Admitted.

34. SFC’s representative testified that these companies all needed insurance to sell goods in the

   United States, and that “[w]hen we buy it together, the rate, the premium for the insurance

   policy would be cheaper.” Chang Chin He Dep. Tr. pp. 71:17-72:2, Ex. F.

   RESPONSE: Admitted.

35. SFA’s representative testified that SFA “does a lot of business” in the U.S. and that it is

   “very easy for [SFA] to negotiate insurance terms including [companies] we do business

   with,” stating that SFA gets a “better rate” then charges the other companies back for their

   coverage. Meghann O’Connor Dep. Tr. p. 37:4-9, Ex. M.

   RESPONSE: Admit Ms. O'Connor so testified. However, Ms. O'Connor also testified

   that she had no knowledge as to why SFC, MVP and Wei Fu were listed as named

   insured or additional insureds under the Lexington policy procured by SFA. O'Connor

   Dep., Exh. "J" to plaintiffs' opposition, pp. 34: 10- 37: 12.

36. MVP’s representative testified that including SFC, SFA, MVP, and Wei Fu on the same

   insurance policy was the most “cost effective way” to buy this insurance coverage. Nora Lee

   Dep. Tr. p. 54:15-20, Ex. I.



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   RESPONSE: Deny. Ms. Lee's actual testimony was limited to SFC and MVP being

   named insureds under the Lexington Policy. Lee Dep., Exh. "G" to plaintiffs'

   opposition, pp. 52:18- 54:20.

37. SFC’s representative explained that the PowerPoint presentation showcased a “business

   network” of “individual companies, individual clients, and products.” Chang Chin He Dep.

   Tr. p. 58:6-11, Ex. F.

   RESPONSE: Admitted.

38. When asked if SFC controlled this business network, SFC’s representative replied “[n]o,”

   and testified that they were involved in buying and selling products to each other. Chang

   Chin He Dep. Tr. p. 58:13-18, Ex. F.

   RESPONSE: Admitted.

39. SFC’s representative testified that the companies listed in the presentation were

   “independently run.” Chang Chin He Dep. Tr. p. 59:13-20, Ex. F.

   RESPONSE: Admit that was the testimony of Mr. Chang.

40. SFC’s representative testified that MVP and Wei Fu were separate companies involved in

   buying and selling products in this business network. Chang Chin He Dep. Tr. pp. 64:13-

   65:2, Ex. F.

   RESPONSE: Deny. Mr. Chang, SFC's 30(b)(6) witness, testified on the cited pages only

   that MVP and Wei Fu were not in his view companies "affiliated" with SFC.

41. SFC did not design, manufacture, import, wholesale, distribute, or retail the jack stand that

   the Plaintiffs claim to be defective in this action. Exs. A-I, M.

   RESPONSE: Objection. Plaintiffs object on the grounds that defendants are stating

   herein a legal inclusion and opinion rather than a concise statement of material facts.



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   Plaintiffs otherwise Deny that the exhibits referred to support the statement that SFC

   did not design, manufacture, import, wholesale or retail the 50163 jack stands.

42. SFA did not design, manufacture, import, wholesale, distribute, or retail the jack stand that

   the Plaintiffs claim to be defective in this action. Exs. A-I, M.

   RESPONSE: Objection. Plaintiffs object on the grounds that defendants are stating

   herein a legal inclusion and opinion rather than a concise statement of material facts.

   Plaintiffs otherwise Deny that the exhibits referred support the statement that SFA did

   not design, manufacture, import, wholesale or retail the 50163 jack stands.

43. The Plaintiffs’ own paid fact witness, former SFA employee Roger Claypool, testified that

   all of the Defendants were “separate companies” and “separate businesses” that “functioned

   independently” and did not share each others’ bank accounts. Claypool Dep. Tr. pp. 48:5-

   49:7, 174:8-175:19, Ex. O.

   RESPONSE: Admit in part and Deny in part. Deny because the page references to

   Roger Claypool's deposition at pp. 48-49 do not concern whether defendants were

   "separate" businesses and further deny that Mr. Claypool was a "paid fact witness".

   Admit his testimony on pages 174-175 of his transcript. Mr. Claypool also testified that

   MVP was part of the global business operation of SFC, that "SFA worked as a satellite

   to SFC," that SFA, Wei Fu and MVP were all operated under the direction and control

   of SFC, were all part of SFC's "affiliated global operations" as per the SFC 2011

   website presentation, and that SFC, run by the Hung family, had ultimate decision

   making authority with respect to the business decisions of SFA, MVP and Wei Fu.

   Claypool Dep., Exh. "E" to plaintiffs' opposition, pp. 40:23- 41:3, 90:20- 95:17.




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       ADDITIONAL MATERIAL FACTS PRECLUDING SUMMARY JUDGMENT1

1.         SFC's 2011 internet presentation states SFC was the apex of the "Shinn Fu Group" with

automobile related parts and accessories sold in the retail do-it-yourself, "DIY" market, and

identifies Wei Fu , MVP and SFA in a global map as part of SFC's "Affiliated Global

Operations" with "2000+ employees worldwide". The web posting further states "Shinn Fu

Taiwan [SFC] supplies product development and manufacturing services to Shinn Fu affiliated

companies throughout the world". (Exh. "A").

2.         SFA's 2011 public website describes itself as "SFA companies" and that among its

divisions is the "Pro-Lift DIY products". The website states that "over the past 30 years, SFA has

become the leading distributor of hydraulic lift equipment in the US and Canada", and "In

addition to distribution, SFA has also played a key role in engineering, research and product

design to help our manufacturing facilities meet our market needs". (Exh. "C").

3.         The founder of the parent Taiwan based SFC was Michael Hung. (Dep. of SFC 30(b)(6)

witness Chang Ching He, a/k/a Peter Chang, Exh. "H", pp. 32:18-33:15). His wife is Vickie

Huang. (Chang Dep., Exh. "H", pp. 44:13-45:10).

4.         Michael (now deceased) and Vickie had three children, Victor Hung, Betty Hung and

Angela Hung. Vickie and her three children are the members of the Board of Directors of SFC.

(Chang Dep. Exh. "H", pp. 44:13-45:10, 48:1-21; Exh. "D", Defendants' chart of the Board of

Directors at relevant times of SFC, SFA and MVP (Wei Fu had no board)).

5.         Vickie Huang also was/is the general manager of Wei Fu, the highest executive position

of the company [(Exh. "D"; deposition of Wei Fu 30(b)(6) witness Su Chien Chi, a/k/a Jeff Su,

Exh. "F", pp. 36:12-37:16, 39:1-6; Chang Dep., Exh. "H", p.55:1-11)] and owns the entity which

in turn owns Wei Fu (Su Dep., Exh."F", p. 73:3-5)].
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    All references to exhibits will be to exhibits to the opposition to the motion.

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6.     Victor Hung is the CEO of SFC and the Hung family owns SFC (Chang Dep., Exh. "H",

pp. 32:18-33:15, 34:4-5, 42:10-43:7, 44:13-45:15, 46:13-47:23, 68:16-21). Victor's sisters, Betty

Hung and Angela Hung were/are vice presidents of SFC responsible for sales (Chang Dep., Exh.

"H", p. 47:8-23).

7.     The Hung family also owns MVP (Deposition of MVP 30(b)(6) witness Nora Lee, Exh.

"G", pp. 29:6-30:2; Chang Dep. Exh. "H" p. 53:2-23). The Hung children constitute the MVP

Board of Directors (Lee Dep, Exh. "G", pp. 31:25-33:25). Victor Hung was the "boss" of MVP

who ran MVP's day-to-day operation (Lee Dep. Exh "G", pp 34:8-35:5, 37:2-5). Despite MVP

being based in Hong Kong, Victor ran the operations of MVP from his base in Taiwan (Lee Dep.

Exh "G", p. 34:13-20). The other MVP board members, Betty and Angela Hung, also resided in

Taiwan (Lee Dep., Exh. "G", pp. 37:15-38:3).

8.     Despite Wei Fu being located in southern China, Vickie Huang ran Wei Fu's day-to-day

operations from her home base in Taiwan (Su Dep., Exh. "F", pp. 36:12-37:16, 39:1-6).

9.     Vickie Huang's brother, Steven Huang is the president and COO of SFA (Deposition of

SFA 30(b)(6) witness Meghan O'Connor, Exh. "J", pp. 12:1-13:24, 110:10-13). Steven Huang,

his sister Vickie, Vickie's children Victor, Betty and Angela Hung, are all on SFA's Board of

Directors (Exh. "D"; O'Connor Dep. Exh. "J", pp. 17:5-20:24).

10.    Although rarely coming to the United States or Kansas City where SFA is located, Betty

Hung is the CEO of SFA (O'Connor Dep., Exh. "J", pp. 23:16-24:24, 26:6-24, 27:6-13).

11.    SFA is a wholly owned subsidiary of SFC (Chang Dep., Exh. "H", pp. 50:21-51:1;

O'Connor Dep., Exh "J", p.16:10-16).

12.    On October 12, 2006 MVP entered into a written agreement with Sears in which MVP

(as seller) agreed to be bound by Sears Universal Terms and Conditions (Sears UTC) (Exh. "K",



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MVP Bates No. MVP010203-MVP010211) which required MVP to indemnify Sears (section

11.2, MVP010207) and to "obtain a policy of policies of Commercial General Liability

Insurance" (section 12, MVP010207).

13.    The subject "Merchandise" are listed in Sears Accelerated Line Review Agreement, dated

December 11, 2006 (Exh. "L", MVP010229-MVP010243). The ALR lists a "NEW" "Craftsman

Professional – 4T jack stands" invoiced in U.S. dollars and F.O.B. China at $10.75. MVP is to

ship the initial batch of 6,000 by February 15, 2007 (MVP 010243).

14.    At the same time MVP was to provide Sears with a new 4 ton jack stand, MVP and SFA

on October 1, 2006 entered into a Sales Representative Agreement in effect to December 31,

2007. (Exh. "N", Bates No. SFA 003336-SFA 003339). The October 2006 Agreement states that

"MVP wishes to retain SFA as its Representative for the Market Area" which is the United

States. (Exh. "N").

15.    SFA is described in this Agreement as MVP's "Sales Agent" who will "market, sell,

provide customer relations and otherwise perform all sales and marketing activities on behalf of

MVP". SFA is to undertake to maximize sales of MVP products in the Market Area. The parties

refer to the Agreement as a "Sales Agency Agreement" (SFA 003337). (Exh. "N").

16.    SFA in the Agreement agrees to provide MVP with information regarding "prevailing

prices and market conditions" and "with information regarding new product ideas and market

trends." (Exh. "N"). In section 10 of the SFA/MVP Sales Agency Agreement MVP agrees to pay

SFA "a commission of 1.5% on Gross MVP Commission Sales." (Exh. "N", SFA003337).

17.    Ms. Lee and Ms. O'Connor testified that jack stands were part of the MVP products

included in the 2006-2007 SFA/MVP Sales Agency Agreement (Lee Dep., Exh. "G", p. 61:4-10;

O'Connor Dep., Exh. "J", p.74:1-23). Ms. Lee testified the "new" 4 ton jack stand listed in



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Exhibit "A" to the Sears/MVP ALR was the ratchet and pawl designed 50163 model. (Lee Dep.,

Exh. "G", pp. 77:1-79:9).

18.    Arthur Chaykin, SFA's General Counsel, testified that the SFA/MVP Sales Agency

Agreement was executed in contemplation of the contemporaneous agreements between MVP

and Sears (Chaykin Dep., Exh. "I", pp. 67:19-70:25) and that both the T6904 4 ton jack stand

and the Sears Craftsman 50163 4 ton jack stand would have been included in the MVP products

for which SFA would receive a sales commission (Chaykin Dep., Exh "I", pp.71:24-73:14).

19.    Part of Exh. "N" herein are the amendments to the SFA/MVP Sales Agency Agreement.

The First (incorrectly labeled as "Second") Amended Agreement covers the period beginning

June 1, 2008 (Exh. "N" herein, Bates Numbered SFA 003340-SFA 003341). This amendment

states that MVP will no longer as of June 1, 2008 pay sales commissions to SFA. Rather the

"sales agency" was to be "converted to a sales and customer support relationship." Under the

customer support relationship SFA was to be paid a lump sum of $45,000 per year to SFA and

SFA was to provide the MVP with the following: "a. Lab test services; b. Show management; c.

OIPM support; d. Customer phone service support".

20.    In addition, MVP was to 100% reimburse SFA for the services of a full time employee

Johnny Lu and 50% for the services of a second SFA employee Jamie Martinez for a total of

$93,154 (Exh. "N", SFA 003340). The earlier Sales Agency Agreement, except for the ending of

commissions and any other inconsistent provisions, was to remain in effect and "SFA will

continue to provide the same services to MVP as previously indicated" (Exh. "N", SFA 003341).

Subsequent Amendments to this Sales Agency Agreement between SFA and MVP, became

effective December 1, 2009 (Exh. "N", SFA 003346-SFA 003347). In all material respects these




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subsequent Amendments were the same as the 2008 "Second Amended Agreement". (SFA

003344-SFA003345)

21.    The policy of insurance produced by defendants was issued by Lexington Insurance

Company and was a renewal policy effective May 1, 2010 to May 1, 2011 and lists SFC and

MVP as named insured with the insureds addresses being c/o 10939 N. Pomona, Kansans City,

MO 64153, the headquarters of SFA. The policy states it was "procured and developed under the

Missouri Surplus Lines Law". The Lexington policy lists SFA and Wei Fu as additional insureds

(Exh "O", SFT 000024, WFT 001971). The Lexington policy also requires the insureds to have

a claims services administrator, a "TPA" (third-party administrator) who is identified in the

policy as being Arthur A. Chaykin (SFA's general counsel). (Exh "O", SFT 000005, 000024,

000034).

22.    Ms. O'Connor testified that SFA obtained the Lexington Policy on behalf of MVP, SFC

and Wei Fu (O'Connor Dep., Exh "J", pp. 34:13-36:12).

23.    SFA engineer Ryan Jorgensen, an SFA 30(b)(6) witness, testified that the SFA Pro-Lift

T6904 4 ton jack stand and Sears Craftsman 50163 4 ton jack stand had the same locking

design, same design and safety design features, same load capacity and the Pro-Lift was on the

market from 2006 (Jorgensen Dep., Exh. "P", pp. 25:1-15, 27:15-23, 63:18-64:4, 85:6-7, 112:11-

18).

24.    Roger Claypool, SFA's product liability manager before his voluntarily leaving SFA in

December 2008, testified that SFA was responsible for developing and designing the jack stands

sold under its brands, and as early as the 1990's SFA, at the directive of Michael Hung, SFC's

Chairman, was testing ratchet bars, and sending jack stand blueprints, material requirements and




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dimensional requirements to Wei Fu (and its predecessor entity) (Claypool Dep., Exh. "E", pp.

32:21-33:7, 35:2-25, 121:11-122:8).

25.    On November 20, 2006 an email was circulated among SFA, SFC, MVP and Wei Fu

discussing Sears "Jack Stand Program" and calling for the development of a new the 4 ton jack

stand which will require a new Sears model number and be priced at $10.75. (Exh. "Q",

SFA003660-SFA003668).

26.    Jeff Su testified that from 2003 to 2012 Wei Fu manufactured ratchet and pawl designed

jack stands for SFA including under SFA's Pro-Lift brand. Wei Fu manufactured during these

years for SFA a 4 ton jack stand bearing Wei Fu internal designation "T37401". This jack stand

had a maximum height of slightly over 17 inches and a minimum height of just over 12 inches

(Exh "F", pp. 80:12-82:22). Wei Fu manufactured the SFA Pro-Lift brand 4 ton ratchet and pawl

designed jack stand under model number "T6904" (Exh. "F", p. 84:9-20). The T6904 and the

T37401 have the same load capacity (8000 pounds) and the same minimum and maximum

ratchet bar height (Exh. "F", pp. 84:21-85:17). They both weigh about 5 kilograms with the

T37401 being slightly heavier (about "0.1 to 0.2 kg") because the base frame was slightly

heavier, and thicker (Exh. "F", pp. 79:24-82:14, 84:21-86:18).

27.    Mr. Su testified the T6904 and 737401 stands have the same collar configuration and

dimensions, the same ratchet bar, pawl and handle design (Exh. "F", p.86:8-18).

28.    Mr. Su testified that SFA provided the test standards for the T6904 (Ex. "F", p.87:11-19)

and SFA had to approve for the T6904 the Wei Fu design drawings and prototype before

production started (Exh "F", pp. 87:3-88:22).

29.    Mr. Su testified that the T6904 predated the T37401 and that the T6904 design was the

basis for the T37401 design (Exh. "F", p. 88:15-22).



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30.    Mr. Su testified that in about March-April 2007 Wei Fu began manufacturing for Sears a

4 ton ratchet and pawl designed jack stand model number 50163. (Exh. "F", p. 90:3-21). Mr. Su

testified that the Wei Fu internal factory number for the Sears 50163 model was T37401 which

was the identical Wei Fu factory number for the SFA ProLift T6904 (Exh. "F", pp. 90:22-91:9).

31.    Mr. Su testified that the SFA ProLift T6904 and the Craftsman 50163 had the same

ratchet and pawl design, the same locking feature, the same load capacity, the same dimensions,

the same testing standards and the same ratchet bar height (Exh. "F", pp. 91:6-92:21, 94:16-

95:13). Mr. Su testified that other than the thickness of the steel plate at the base there was no

material difference in the design of the Sears 50163 from the design of the SFA Pro-Lift T6904

(Exh. "F", pp. 97:3-98:2).

32.    Mr. Su testified that the unit cost of manufacturing the T6904 and the Sears 50163 were

the same (Exh. "F", pp. 99:6-16, 100:18-102:5).

33.    On December 8, 2006, James Wang, an SFA sales manager emails Wu Ching Yaen (a/k/a

"Tiger") (a Wei Fu R&D engineer) telling Tiger that "the 4 ton jack stands will be under the

'Craftsman Professional' brand". In that same email chain (on December 6 and 7, 2006) Mr.

Wang emails Tiger telling Tiger "we also need to work on the 4-ton jack stands (T-6904)…

please advise… 1. Will the product specification for Sears 4-ton jack stand be the same as

current Pro-Lift T6904?" (Exh. "R", WFT002523-WFT002524). In response, Tiger writes to Mr.

Wang at SFA "that the T6904 for Sears has the same specifications as the Pro-Lift." (Su Dep.,

Exh. "F", pp.153:11-154:15).

34.    Mr. Su testified that Wei Fu document Bates numbered WFT000084, was a Wei Fu

"comparison table for model numbers", which indicated the Sears 50163, the MVP6904 and the

Wei Fu T37401 were the same jack stand (Exh. "R"; Exh "F", p. 146:1-11).



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35.    Mr. Su identified a number of MVP purchase orders to Wei Fu and MVP invoices to

Sears for the Sears 50163 jack stand. All the orders/invoices show that MVP purchase orders to

Wei Fu for the Sears Craftsman Professional jack stands model 50163 also identified these same

jack stands as factory item no. T6904 and as T37401 jack stands (Exh. "R", pp. 146:13-149:25;

the invoices/orders are collectively found at Exh. "T", including WFT000086, 000115 and

000116).

36.    Ms. Lee was shown a number of MVP invoices and purchase orders concerning the Sears

Craftsman 50163 jack stands and testified that all these invoices and purchase orders shown to

her also identified these same 50163 jack stands as T6904 jack stands and Wei Fu numbered

T37401 jack stands. (Exh. "G", pp. 88:8-94:12; the orders/invoices are annexed collectively as

Exh."U".

37.    Ms. Lee testified that in a September 20, 2011 email from Ms. Lee to a Sears

representative, with a SFC sales manager copied, Ms. Lee in an attachment (MVP 009197-MVP

009199) refers to the Sears 50163 jack stand and the MVP T6904 jack stand as the same jack

stand (Exh. "G", p. 97:7-17).

38.    Kathy Guerra on January 15, 2007 emailed other Sears employees (MVP009365) about

issues she had with the maximum ratchet bar height of the new Model 50163. Sears in turn

emailed SFA sales managers Dennis Yu and James Wang for a response to Mr. Guerra's

inquiries (Exh. "S", MVP009364, MVP010117-010119).

39.    On February 15, 2007 James Wang of SFA emailed "Tiger" and Nora Lee of MVP

asking Tiger if the 50163 maximum ratchet bar height could be raised (Exh "S", MVP009239-

MVP009240).




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40.    On February 24, 2007 James Wang of SFA emailed MVP, Wei Fu and Betty Hung at

SFC "recaping" a meeting in which "Barb" [a Sears representative] "was concerned about the

small support range of the 4-ton jack stands". (Exh. "S", MVP009238).

41.    On March 9, 2007, James Wang of SFA again emailed MVP and Wei Fu on Sears

request concerning its 4 ton jack stand. Mr. Wang wrote about SFA working with the Shinn Fu

companies on raising the bar height of the 50163 (Exh. "S", MVP009227-MVP009228).

42.    On March 10, 2007 James Wang of SFA emailed Sears buyer Barbara and wrote

concerning the "redesign 4-ton jack stands" and offered options for a redesigned 50163 jack

stand. (Exh. "S", MVP009141):

43.    Ms. Lee testified that SFA drafted the content, warnings, safety instructions, operating

instructions for the owner's manual and for the labeling for the Pro-Lift T6904 4-ton jack stand

(Lee Dep., Exh. "G", pp. 82:8-84:13).

44.    Roger Claypool testified that SFA drafted the operator's manual (OIPM) for the ratchet

and pawl designed jack stands imported by MVP and/or sold under any of the SFA brands

(Claypool Dep., Exh "E", pp. 44:10-21, 125:24-126:10).

45.    Ryan Jorgensen testified that he believed SFA "created' the 50163 operator's manual

(Jorgensen Dep., Exh. "P", p.70:7-11)

46.    Jeff Su testified that the Pro-Lift T6904 and Sears Craftsman 50163 operator's manuals

had the same wording, content for their warnings, safety instructions and operating instructions.

(Su Dep., Exh "F", pp. 109:5-112:12; the manuals are reproduced as Exh. "W").

47.    The Sears Craftsman 50163 manual, gives an "888" phone number "for after sale support

and assistance" (Exh. "W", SFA002812). That number, 1-888-332-6419, when dialed today, will

result in a SFA representative responding to the call. (Chaykin Dep., Exh "I", pp. 80:13-81:9).



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                                       CERTIFICATION

        I HEREBY CERTIFY that on this date a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                                         /s/ Bryan J. Orticelli
                                                  Bryan J. Orticelli (ct28643)




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